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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

CNH INDUSTRIAL CAPITAL                        )
AMERICA, LLC, f/k/a CNH                       )
CAPITAL AMERICA, LLC,                         )
                                              )
       Plaintiff,                             )
                                              )
vs.                                           )   CASE NO. 2:16-CV-724-SMD
                                              )
JOHN D. COLEY                                 )
                                              )
       Defendant.                             )


                                         ORDER

       In consideration of the parties’ Joint Stipulation of Dismissal (Doc. 75) and for good

cause, it is

       ORDERED that Plaintiff’s Motion for Summary Judgment (Doc. 53) is hereby

DENIED as MOOT. Further, it is

       ORDERED that the status conference set for September 4, 2019, before the

undersigned is CANCELLED.

       DONE this 3rd day of September, 2019.



                                              /s/ Stephen M. Doyle
                                              UNITED STATES MAGISTRATE JUDGE
